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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      (at London)

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               ) Criminal Action No. 6:17-CR-040-SSSS-CHB-4
 v.                                               )
                                                  )           ORDER ADOPTING
 BRANDON M. RUSH,                                 )        RECOMMENDATION            OF
                                                  )   ACCEPTANCE OF GUILTY PLEA
                                                  )
         Defendant.                               )
                                                  )

                                      *** *** *** ***
       This matter is before the Court on the Recommendation of Acceptance of Guilty Plea

filed by United States Magistrate Judge Hanly A. Ingram [R. 425]. The recommendation

instructed the parties to file any specific written objections by no later than 9:00 a.m. on

Monday, November 26, 2018, or else waive the right to further review. See id. at p. 3. Neither

party has objected to Magistrate Judge Ingram’s recommendation, and the time to do so has now

passed. Defendant Rush did file a consent to plead before the United States Magistrate Judge.

[R. 429].

       Upon review, the Court is satisfied that Defendant Brandon M. Rush knowingly and

competently pled guilty to the charged offenses and that an adequate factual basis supports the

plea as to each essential element of the offenses charged. Accordingly, and the Court being

otherwise sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.       Judge Ingram’s Recommendation of Acceptance of Guilty Plea [R. 425] is

ADOPTED as and for the opinion of this Court;

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       2.     Defendant Brandon M. Rush is ADJUDGED guilty of Count 1 of the Fourth

Superseding Indictment;

       3.     The Defendant’s Jury Trial and all other pre-trial proceedings are hereby

CANCELLED and STRICKEN from the Court’s docket; and

       4.     A Sentencing Order shall be entered promptly.

       This the 26th day of November, 2018.




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